                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                           )
                     Plaintiff,                     )
vs.                                                 )      CASE NO. 3:05CR277
                                                    )      (Financial Litigation Unit)
DAVID A. SCHULZ,                                    )
                               Defendant.           )

                DISMISSAL OF APPLICATION FOR WRIT OF EXECUTION

       Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Application for Writ of Garnishment as to Telco Credit Union filed in this

case on August 8, 2008, against the defendant David A. Schulz is DISMISSED.



                                               Signed: September 5, 2008




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